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 14

 15                        UNITED STATES DISTRICT COURT
 16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
        Edwardo Munoz, individually and on
 18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 19
                                 Plaintiff,      PLAINTIFF’S REPLY IN
 20                                              SUPPORT OF MOTION FOR
          v.                                     SUMMARY JUDGMENT
 21
                                                 [Filed concurrently with Reply to
 22     7-Eleven, Inc., a Texas corporation,     Defendant’s Additional
 23                                              Uncontroverted Facts]
                                Defendant.
 24                                              Date: May 20, 2019
                                                 Time: 9:00 a.m.
 25                                              Judge: Hon. R. Gary Klausner
 26                                              Place: Courtroom 850
                                                 Complaint Filed: May 9, 2018
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  1   I.      INTRODUCTION
  2           In its Opposition to Plaintiff’s Motion for Summary Judgment, Defendant 7-
  3   Eleven, Inc. (“Defendant” or “7-Eleven”) continues to ignore its own plain
  4   violations of the FCRA. Repeating much of its own Motion to for Summary
  5   Judgment (ECF 67), 7-Eleven’s primary argument is that Plaintiff Edwardo Munoz
  6   (“Plaintiff” or “Munoz”) supposedly lacks standing to bring his claims; 7-Eleven
  7   contends once again that Munoz “falsely alleged” that he was confused by the form.
  8   Defendant then argues that its form complies with the FCRA—dismissing Syed and
  9   Gilberg as “irrelevant” along the way—and asserts that there is no evidence to
 10   support a willful violation of the Act.
 11           7-Eleven’s arguments remain unsupported and have not improved since their
 12   first appearance in Defendant’s Motion for Summary Judgment. First, leaving aside
 13   that the Court already found standing when granting class certification, Plaintiff’s
 14   testimony confirmed that he was confused when signing 7-Eleven’s form, and not
 15   even an exacting deposition could resolve all of his confusion. Second, despite
 16   Defendant’s artful attempts to dodge controlling legal standards, its disclosure form
 17   violates the FCRA’s requirements, and this violation is willful as a matter of law.
 18   Accordingly, the Court should grant summary judgment in Plaintiff’s favor.
 19   II.     ARGUMENT
 20           A.     Plaintiff has standing to bring suit—his testimony confirmed that
 21                  he was confused by 7-Eleven’s disclosure form.
 22           As in its Motion for Summary Judgment, 7-Eleven begins its Opposition with
 23   an attack on Plaintiff’s standing. (ECF 73, at 6–9.) Defendant asserts that, because
 24   Munoz did not thoroughly read every line of the form before signing it, Munoz is
 25   supposedly unable to claim he was confused by the form.1 (Id. at 9.) However,
 26
 27   1
          Moreover, 7-Eleven extrapolates to suggest that Munoz simply “did not read” the
 28       form at all. (ECF 73, at 9.) Such a claim is refuted by Munoz’s own testimony,
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  1   portions of Munoz’s testimony confirmed that he was confused when signing the
  2   form and that he remained confused at his deposition. This argument would further
  3   allow 7-Eleven to have its cake and eat it too: 7-Eleven cannot implement a dense,
  4   confusing form that is too cumbersome to read and then contend that only those
  5   consumers who read every word can demonstrate sufficient confusion for standing
  6   purposes.
  7          To be sure, a plaintiff must have standing to bring suit, and this Court
  8   previously determined that Munoz had demonstrated standing:
  9         Here, Plaintiff has established standing. His injury—the procurement
 10         of a consumer report as the result of a faulty FCRA Disclosure Form—
 11         is sufficiently complete and particularized. . . . The consumer report is
 12         traceable to Defendant’s alleged violation of the FCRA and would be
 13         remedied by a ruling in favor of the Plaintiff. Thus, Plaintiff has
 14         established standing, and determinations of harm suffered by additional
 15         members of the class for purposes of Article III standing will not be
 16         necessary.
 17   (Order Re Pl.’s Mot. to Cert. Class, ECF 43, at 3–4) (citations omitted).
 18   Nevertheless, Defendant asserts that the Court must require a showing of confusion
 19   to support Munoz’s standing. (ECF 73, at 7.) As Plaintiff has already shown in his
 20   Response to Defendant’s Motion for Summary Judgment, however, Munoz’s own
 21   testimony amply demonstrates that he was confused as to what the form authorized.
 22   (ECF 71, at 3.) Indeed, during the course of his deposition, Munoz confirmed his
 23   confusion multiple times:
 24      • Munoz was confused by the title of the form (Dkt. 71-3, 145:16–146:20);
 25
 26    referenced by 7-Eleven, that he spent time reviewing the form before he signed.
 27
       (See id. at 6.)
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  1      • Munoz did not understand the different types of reports mentioned in the
  2         form (Id. at 147:16–148:21);
  3      • Munoz did not understand the purpose or scope of the authorization—he
  4         thought it was a simple background check disclosure that would not include
  5         authorization to interview his friends and family (Id. at 140:7–141:18; 142:9–
  6         21; 143:19–144:7; 168:2–169:1); and
  7      • Had he understood that the form authorized 7-Eleven to interview his friends
  8         and family, he would not have signed the form. (Id. at 140:18–141:10;
  9         168:2–6.)
 10   Further, some of Plaintiff’s confusion persisted even during the attorney-assisted
 11   review of the form at his deposition. (See id. at 146:5–15; 148:1–6; 157:3–23.)
 12   Hence, even though the Court previously found Munoz enjoys standing without
 13   reference to confusion, Munoz has testified under oath to his confusion with the
 14   form. These are not, as 7-Eleven continues to suggest, false allegations.
 15         Defendant attempts to discount Munoz’s confusion by comparing him to
 16   parties in Ruiz, a case in which the named plaintiffs lacked standing. Ruiz v.
 17   Shamrock Foods Co., 2018 WL 5099509, at *5–6 (C.D. Cal. Aug. 22, 2018). The
 18   present case is distinguishable—the named plaintiffs in Ruiz each had fatal errors in
 19   their standing that Munoz does not: (1) plaintiff Ruiz was “unable to articulate
 20   what, if any, language [was] confusing or that he did not understand”; (2) plaintiff
 21   Guerrero did not read or review the form; and (3) plaintiff Torres did not “recall
 22   reviewing or even completing” the FCRA authorization form. Id. at *2–3. As a
 23   result, the plaintiffs “lack[ed] facts to allow the Court to make an inference that
 24   they were confused by the inclusion [in question] or would not have signed the
 25   authorization form had it contained a sufficiently clear disclosure.” Id. at *5.
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  1         Munoz, on the other hand, does not require such inference from the Court.
  2   Plaintiff has articulated clearly, under oath, the language in the 7-Eleven’s FCRA
  3   form that he found confusing (including the parts that he still doesn’t understand).
  4   Munoz may not have meticulously studied every word, but he did review the form
  5   before signing it, and he did recall reading and completing the form as part of his
  6   application. Even if a painstaking, line-by-line review during his deposition were
  7   able to clear up a few of his misunderstandings, it cannot change the fact that
  8   Munoz was injured, and his privacy was compromised, by 7-Eleven’s confusing
  9   FCRA disclosure form. Accordingly, Defendant’s continued assertions that Munoz
 10   was never confused are groundless. Plaintiff has standing to bring this action.
 11         B.     7-Eleven’s form is unclear and fails to stand alone.
 12         7-Eleven next argues that its form complies with the FCRA, contending that:
 13   (1) investigative consumer reports are merely a “sub-type” of consumer reports that
 14   may be disclosed in the same, combined form; and (2) 7-Eleven did not include the
 15   exact extraneous inclusions that were deemed unlawful in Syed and Gilberg.
 16   Neither of these arguments has merit.
 17         First, 7-Eleven’s semantic arguments are unavailing. Defendant argues that,
 18   rather than being a distinct type of report, investigative consumer reports are a “sub-
 19   type” of consumer report. (ECF 73, at 10.) Accordingly, 7-Eleven believes that the
 20   “disclosure” that Section 1681b(b)(2)(A)(i) requires to stand alone can combine
 21   disclosures for both types of reports. This argument fails. Defendant cannot avoid
 22   the reality that the FCRA separately defines both report types—indeed, 7-Eleven
 23   cited to their respective definitions in the statute. See 15 U.S.C. §§ 1681a(d)(1),
 24   1681a(e); (ECF 73, at 10). Further, and as 7-Eleven did not care to admit in its
 25   Response, each kind of report has its own disclosure requirements: the requirement
 26   for disclosures of consumer reports appears in § 1681b(b)(2), and separate
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  1   disclosure requirements for investigative consumer reports appear in § 1681d(a) and
  2   (b). To consider these reports to be one in the same, and subject to only one shared
  3   “disclosure” requirement, would require the Court to completely ignore the choice
  4   Congress made in enacting the FCRA to include to distinct and separate disclosure
  5   requirements for these two different types of reports.
  6         7-Eleven poses another semantic argument, noting that it does not agree that
  7   the form contains extraneous information and the dispute “is more accurately
  8   described” as one pertaining to what exactly is extraneous. (ECF 73, at 10.) Of
  9   course, Plaintiff understands the nature of this dispute, but 7-Eleven readily admits
 10   that its form details the nature and scope of investigative consumer reports, and this
 11   information is extraneous to and overshadows the simple consumer report
 12   disclosure. See FTC Advisory Opinion to Willner (Mar. 25, 1999). Defendant cites
 13   to the Willner opinion by way of Walker, a district court case (currently on appeal)
 14   decided months after Munoz received the form and was subsequently fired. See
 15   Walker v. Fred Meyer, 2018 WL 2455915 (D. Or. May 7, 2018). But the Willner
 16   opinion, published more than two decades ago, informed employers that details
 17   regarding the nature and scope of investigative reports would “overshadow” the
 18   disclosure required by Section 1681b(b)(2)(A). FTC Advisory Opinion to Willner
 19   (Mar. 25, 1999). Likewise, 7-Eleven’s inability to “imagine any disclosure” that
 20   doesn’t contain extraneous information is irrelevant—Willner already instructed
 21   employers that the surest way to comply would be provide separate disclosures. Id.;
 22   (see ECF 73, at 10 n. 2).
 23         7-Eleven next addresses Syed and Gilberg, concluding that because the Ninth
 24   Circuit decided those forms were noncompliant on the basis of a liability waiver
 25   and state law provisions (and because neither case addressed the inclusion of
 26   investigative report details), then surely 7-Eleven’s inclusions are not extraneous.
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  1   (ECF 73, at 11.) This argument is an extension of the same faulty logic that the
  2   defendant argued, and the Ninth Circuit rejected, in Gilberg. That is, the defendant
  3   in Gilberg argued that Syed was inapplicable because it addressed liability waivers
  4   rather than state law provisions. Gilberg v. Cal. Check Cashing Stores, LLC, 913
  5   F.3d 1169, 1175 (9th Cir. 2019).2 But the Ninth Circuit clearly ruled that the
  6   statute’s plain language “meant what it said,” and “Syed considered the standalone
  7   requirement with regard to any surplusage.” Id. (emphasis added). 7-Eleven itself
  8   admits that “there are no exceptions to the standalone requirement.” (ECF 73, at
  9   11.)
 10            In a consumer report disclosure, details about the nature and scope of an
 11   investigative report are surplusage—they are required by Section 1681d(b) the
 12   FCRA to be disclosure to consumers in a separate disclosure, and the FTC issued a
 13   pointed warning to employers more than twenty years ago that such information
 14   would overshadow a 1681b(b)(2)(a) disclosure and should be presented separately.
 15   These details muddled 7-Eleven’s disclosure and rendered the form unclear and
 16   confusing to Munoz and thousands of other applicants. As a matter of law, 7-
 17   Eleven’s disclosure is not clear and it fails to stand alone. Accordingly, Defendant
 18   has violated the FCRA and summary judgment should be granted in Munoz’s favor.
 19            C.    7-Eleven’s violation of the FCRA was willful as a matter of law.
 20            Finally, 7-Eleven presents a scattershot of arguments as to why any violation
 21   that is ultimately found should not be considered willful. For a second and third
 22   time, 7-Eleven tries to dodge Syed and Gilberg by arguing they are irrelevant.
 23   Defendant also claims that prevailing authority, including Willner and several
 24

 25
      2
          It is worth noting here that 7-Eeven’s disclosure does contain a statement alerting
          applicants and employees to the existence of additional state law disclosures. The
 26       inclusion of this statement also constitutes additional extraneous information in
 27
          violation of the Act.
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  1   district court cases decided before and after Munoz was injured by the form at
  2   issue, counsel in favor of 7-Eleven’s extraneous inclusions. As explained below,
  3   each of Defendant’s arguments is without merit.
  4         First, and as explained above, Syed and Gilberg remain relevant. The Ninth
  5   Circuit in Syed opined directly on willful violation of the standalone requirement:
  6         [T]he term we are called upon to construe is not subject to a range of
  7         plausible    interpretations.    To         the   contrary, 15   U.S.C.   §
  8         1681b(b)(2)(A)(i) unambiguously forecloses the inclusion of a liability
  9         waiver in a disclosure document. Thus, we need not consider M-I’s
 10         subjective interpretation of the FCRA in determining whether it acted
 11         in reckless disregard of the statutory language, and therefore willfully.
 12   Syed, 853 at 505 (emphasis added). While Defendant is correct that Gilberg did not
 13   address willfulness, the Court therein clarified that Syed’s analysis applies to any
 14   surplus information—Syed forecloses an approach that would allow even related
 15   information to cloud a consumer report disclosure. See Gilberg, 913 F.3d at 1175–
 16   76. Ninth Circuit precedent is not simply rendered “irrelevant” or “inapplicable”
 17   because 7-Eleven’s form doesn’t include a liability waiver. (See ECF 37, at 13, 14.)
 18   The Syed and Gilberg opinions are relevant, instructive, and controlling, and 7-
 19   Eleven cannot credibly suggest otherwise.
 20         Second, 7-Eleven cites to a variety of district court cases that supposedly
 21   supported its inclusion of investigative report details. (ECF 73, at 14.) However,
 22   two of these decisions occurred after Munoz was injured by the form—as
 23   Defendant points out, 7-Eleven’s interpretation of the FCRA must have been
 24   informed by standards in place at the time the form was executed, which means that
 25   neither Walker nor Dawson could have instructed 7-Eleven. See Walker v. Fred
 26   Meyer, 2018 WL 2455915 (D. Or. May 7, 2018); Dawson v. Wonderful Pistachios
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  1   & Almonds, LLC, 2018 WL 5263063 (C.D. Cal. April 27, 2018); (ECF 73, at 14).
  2   Defendant also cites to Just and Newton, which could have informed the drafting of
  3   7-Eleven’s disclosure form, but in neither case did the employer’s form contain
  4   details about the nature and scope of investigative reports, as is at issue here.3 (See
  5   ECF 73-4, 73-7.) Only one case cited by 7-Eleven involved a form containing
  6   similar surplus information, but the plaintiff did not challenge that information (and
  7   in fact failed entirely to address the contents of the form). See Reed v. CRST Van
  8   Expedited, Inc., 2017 WL 5633153, at *3 (M.D. Fla. Nov. 20, 2017); (ECF 73-6).
  9   In short, none of the decisions cited by Defendant addressed the inclusion of
 10   investigative report details prior to 7-Eleven’s implementation of the form.
 11            Critically, however, a lack of judicial guidance does not immunize a party
 12   from statutory damages or render its interpretation of the law reasonable. Syed, 853
 13   F.3d at 504. At the time the form was implemented, two authorities were plainly
 14   instructive. First, in a general sense, the FCRA itself cautioned against the
 15   inclusion, creating separate disclosure requirements for consumer reports and
 16   investigative consumer reports and stating unambiguously that the consumer report
 17   disclosure must stand alone. Compare 15 U.S.C. § 1681b(b)(2) with § 1681d(a)–
 18   (b). Second, and in a more specific sense, the FTC issued its Willner opinion two
 19   decades ago, restricting employers to a “very limited” statement regarding
 20   investigative reports. FTC Advisory Opinion to Willner (Mar. 25, 1999). Even after
 21   providing a brief example (which 7-Eleven far exceeds) the FTC explicitly advised
 22   employers to provide separate forms so as not to risk overshadowing the standalone
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 24   3
          7-Eleven also cites heavily to Culberson, a yet unpublished California state court
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          appeal that found a disclosure form used by Disney to be FCRA compliant.
          Culberson v. Walt Disney Parks and Resorts, 2019 WL 1594026 (Cal. Ct. App.
 26       April 15, 2019). Once again, the form at issue was decidedly clearer than 7-
 27
          Eleven’s, and it did not contain investigative report details. (See ECF 73-8.)
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  1   disclosure required by Section 1681b(b)(2). Id. 7-Eleven went beyond the
  2   boundaries of Willner, including a nature and scope description that, precisely as
  3   the FTC warned, overshadowed its disclosure and confused Munoz and the class.
  4         Plaintiff is not attempting to write willfulness out of existence, as 7-Eleven
  5   would have the Court believe. (ECF 73, at 14.) Rather, Plaintiff has demonstrated to
  6   the Court that Defendant violated the FCRA as a matter of law—7-Eleven
  7   recklessly exceeded not only the FCRA’s unambiguous requirement for a
  8   standalone disclosure but the FTC’s warning from twenty years ago about the exact
  9   information that is included in the form. Accordingly, the Court should grant
 10   summary judgment in favor of Plaintiff.
 11   V.    CONCLUSION
 12         The Court should grant Plaintiff’s Motion for Summary Judgment.
 13   Defendant’s repeated attacks on Munoz’s standing are groundless obfuscations of
 14   the facts of the case and Plaintiff’s testimony under oath. Further, prevailing legal
 15   authority, both now and at the time the form was presented to Munoz, indicates that
 16   Defendant has willfully violated the FCRA. Accordingly, the Court should grant
 17   Plaintiff’s motion and award any such relief as it deems necessary and just.
 18

 19                                           Respectfully Submitted,
 20                                           EDWARDO MUNOZ, individually and on
 21                                           behalf of all others similarly situated,
 22
      Dated: May 6, 2019                      By:     /s/ Steven L. Woodrow
 23                                                    One of Plaintiff’s Attorneys
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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on May 6, 2019.
  5                                         /s/ Steven L. Woodrow
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